Case 9:06-cr-00030-MAC-CLS           Document 1111         Filed 07/26/07      Page 1 of 1 PageID #:
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                        LUFKIN DIVISION



 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §            NO. 9:06-CR-30-21
                                                  §
 ABIEL RODRIGUEZ GARZA                            §
 a/k/a/ “Primo”                                   §


        ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT


        On this day, the court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Earl S. Hines regarding defendant’s plea of guilty to Count I of the Third

 Superseding Indictment in the above-numbered case. Having conducted a proceeding in the form

 and manner prescribed by Fed. R. Crim. P. 11, the magistrate judge recommends that the court

 conditionally accept the plea agreement and the guilty plea of defendant. The court is of the opinion

 that the Findings of Fact and Recommendation should be accepted.


        Accordingly, it is ORDERED that the Findings of Fact and Recommendation of the United

 States magistrate judge are ADOPTED.


        It is further ORDERED that the court conditionally accepts the plea agreement as to Count

 I of the Third Superseding Indictment and will defer its final decision as to acceptance or rejection

 until there has been an opportunity to consider the presentence report.

         SIGNED this the 26 day of July, 2007.




                                        ____________________________
                                        Thad Heartfield
                                        United States District Judge
